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                         IN THE UNITED STATES DISTRICT COURT  J SEP                     ,~ Zoos
                        FOR THE NORTHERN DISTRICT OF GEORGIA AIW                          9
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                                  ATLANTA DIVISION
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      EQUAL EMPLOYMENT OPPORTUNITY                                                        De ty AM
      COMMISSION ,

                          Plaintiff,
                                                         CIVIL ACTION 10 .
                   v.
                                                             i s 0 6 -C Y - 22 92
                                                         COMPLAINT

      TED'S MONTANA GRILL , INC .                        JURY TRIAL DEMAND

                          Defendant


                                  NATURE OF THE ACTION

             This is an action under the Age Discrimination in Employment Act of 1967 to

      correct unlawful employment practices on the basis of age and to provide appropriate

      relief to Odolph Wright who was adversely affected by such practices .

                                 JURISDICTION AND VENUE

             1 . Jurisdiction of this Court is invoked pursuant to 28 U S .C Sections

      451, 1331, 1337, 1343 and 1345 This action is authorized and instituted pursuant

      to Section 7(b) of the Age Discrimination in Employment Act of 1967, as amended,

      29 U S C . Section 621, et s~ (the "ADEA"), which incorporates by reference
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Sections 16(c) and 17 of the Fair Labor Standards Act of 1938, as amended, 29

U .S .C Sections 216(c) and 217 .

      2 The employment practices alleged to be unlawful were committed within

the jurisdiction of the United States for the Northern District of Georgia, Atlanta

Division

                                     PARTIES

      3 Plaintiff, Equal Employment Opportunity Commission (the

"Commission"), is an agency of the United States of America charged with the

administration, interpretation and enforcement of the ADEA, and is expressly

authorized to bring this action by Section 7(b) of the ADEA, 29 U .S .C . Section

626(b), as amended by Section 2 of Reorganization Plan No . 1 of 1978, 92 Stat .

3781, and by Public Law 98-532 (1984), 98 Stat 2705 .

      4 At all relevant times, Defendant, Ted's Montana Grill, has continuously

been a Georgia corporation doing business in the State of Georgia and has

continuously had at least 20 employees .

      5 . At all relevant times, Defendant. Ted's Montana Grill has continuously

been an employer engaged in an industry affecting commerce within the meaning of

Sections 11{b}, (g) and (h) of the ADEA, 29 U S .C §§ 630(b), (g) and (h) .

      6 At all relevant times, Defendant has continuously been an employer

within the meaning of Section 11(b) of the ADEA . 29 U S.C. § 630(b)
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      7 Prior to institution of this lawsuit, the Commission's representatives

attempted to eliminate the unlawful employment practices alleged below and to effect

voluntary compliance with the ADEA through informal methods of conciliation,

conference and persuasion within the meaning of Section 7(b) of the ADEA, 29

U S C § 626(b)

                            STATEMENT OF CLAIMS

      8 More than thirty days prior to the institution of this lawsUit . Wnght filed

a charge with the Commission alleging violations of the ADEA by Ted's Montana

Grill All conditions precedent to the institution of this lawsuit have been fulfilled

      9 . Since at least December 26, 2003, the Defendant, Ted's Montana Grill,

has engaged in unlawful employment practices at its facility located in Newnan,

Georgia, in violation of Section 623(a)(1) of the ADEA, 29 U S .C . § 623{a}(1)

       10 On December 26, 2003, Odolph Wright applied for a server position at

Defendant's Newnan, Georgia location Wright was 62 years old at the time of his

application Wright had 30 years experience in the restaurant industry, including

extensive experience as a server . Wright was interviewed by Defendant's managers,

on the same day he completed the application for employment . Defendant's managers

told Wright to return to the store for a second interview

       11 .   On December 31, 2003, Wright returned to the store and was interviewed

for a second time, but by a different manager Wright was not hired for the server
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 position . Defendant's managers told Wright that he would not fit into its restaurant's

 environment .

        12 During the week of January 2004, Wright learned that Defendant hired

 several persons as servers who also applied in December 2003 All of the persons

 hired were younger than Wright

       13 The effect of the practices complained of in paragraph(s) 10 through 12

above has been to deprive Wright of equal employment opportunities and otherwise

adversely affect his employment status because of his age

       14 The unlawful employment practices complained of above were willful

within the meaning of the ADEA .



                               PRAYER FOR RELIEF

      Wherefore, the Commission respectfully requests that this Court .

      A Grant a permanent injunction enjoining the Defendant, its officers,

successors, assigns and all persons in active concert or participation with it, from

engaging in and any other employment practice which discriminates on the basis of

age

      B Order Defendant to institute and carry out policies, practices and programs

which provide equal employment opportunities for individuals 40 years of age and

older, and which eradicate the effects of its past and present unlawful employment
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practices

        C Order Defendant to institute and carry out policies, practices and programs

which provide equal employment opportunities for applicants 40 years of age and

older

        D Order Defendant to pay appropriate back pay in an amount to be

determined at trial, and prejudgment interest

        E Order Defendant to pay liquidated damages in an amount equal to the

back pay determined at trial .

        F Grant such further relief as the Court deems necessary and proper in the

public interest

        G Award the Commission its costs of this action .
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                            JURY TRIAL DEMAND

      The Commission requests a jury trial on all questions of fact raised by its

complaint .

                                     Respectfully submitt ed,


                                     Ronald S Cooper
                                     General Counsel

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                                     Deputy General Counsel

                                     Gwendolyn You earns
                                     Associate G ral Counsel


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